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                    Exhibit 1
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                               DANIEL MASSOGLIA
                                       ATTORNEY AT LAW
 P: (336) 575-6968                                                      1800 S. CARPENTER ST.
 F: (312) 256-2010                                                      SUITE 202
 E: DMASSOGLIA@GMAIL.COM                                                CHICAGO, IL 60608

Dionne Hardy
&
Heather Walsh
725 17th Street NW
Suite, 9204, 904
Washington, DC 20503
(202) 395-3504 (fax)

<transmitted electronically to OMBFOIA@omb.eop.gov>

                                                                                     July 11, 2017

Re: Freedom of Information Act Request from Matthew Chapman – Jan ’17 @omb.eop.gov
Metadata

Good evening Ms. Hardy,

Thank you for your guidance over the phone earlier.

This is a Freedom of Information Act request made to the Office of Management of Budget
under 5 U.S.C. § 552 et seq and in light of governing Chapter III regulations outlined in 5
C.F.R. 1303. I am legal counsel to Matthew Chapman and submit this request on his behalf.

Mr. Chapman is a senior data engineer and FOIA activist who sends this request as a non-
commercial, non-partisan effort in the public interest. His work seeks to help the public
understand the operations of government, including the Executive Office of the President
and the Office of Management and Budget. Mr. Chapman’s other work in this field has
helped the public interact with governments of Texas, Illinois, and elsewhere.

This request seeks only the metadata from the search described below—it explicitly does
not request the content or contents of any email. Please inform my office if any fee in
processing the request if is expected.

Specific Request:

Please provide the following metadata for all emails sent or received in the month of
January 2017 by or from persons with email addresses ending “@omb.eop.gov”:

   1. To address;
   2. From address;
   3. CC;


              DANIEL MASSOGLIA, 1800 S. CARPENTER ST, SUITE 202, CHICAGO, IL 60608
                    DMASSOGLIA@GMAIL.COM | P: (336) 575-6968 | F: (312) 256-2010
    Case: 1:18-cv-04269 Document #: 1-1 Filed: 06/20/18 Page 3 of 3 PageID #:10

                              DANIEL MASSOGLIA
                                      ATTORNEY AT LAW
 P: (336) 575-6968                                                     1800 S. CARPENTER ST.
 F: (312) 256-2010                                                     SUITE 202
 E: DMASSOGLIA@GMAIL.COM                                               CHICAGO, IL 60608
   4. BCC; and
   5. Date and Time.

My client is happy to make himself available and assist in creating appropriate database
queries or scripts to make this matter easier to manage. If your office prefers to navigate
this somewhat novel request in concordance with the requester please let us know times at
which you might be available for a conference call or other form of meeting to begin this
effort.

Requested records should not be subject to exemptions or exclusion under statute or to
limitation by federal regulations present or pending.

With questions, feel free to reach me at 336 575 6968 during business hours and
dmassoglia @ gmail.com at any time.

Thank you,
Daniel Massoglia




             DANIEL MASSOGLIA, 1800 S. CARPENTER ST, SUITE 202, CHICAGO, IL 60608
                   DMASSOGLIA@GMAIL.COM | P: (336) 575-6968 | F: (312) 256-2010
